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   8                          UNITED STATES DISTRICT COURT
   9                         CENTRAL DISTRICT OF CALIFORNIA
  10                               WESTERN DIVISION
  11
     LUIS MORALES-GARCIA,      CASE NO. 2:18-cv-05118-SVW-JPR
  12 BENITO PEREZ-REYES, CESAR
     JIMENEZ-MENDOZA, GABRIELA
  13
     RENDON-VASQUEZ, AND JUANA ENTRY OF JUDGMENT
  14 VELASCO-TORRES
  15                         Plaintiffs,
             vs.
  16
       HIGUERA FARMS, INC., LA
  17 CUESTA FARMING COMPANY,
     INC., BIG F COMPANY, INC.,
  18
     BETTER PRODUCE INC., RED
  19 BLOSSOM SALES, INC.
  20                Defendants.

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             In accordance with its Memorandum of Decision, the Court hereby ENTERS the
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       following judgment:
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   1         1. Judgment is entered in favor of Defendants Better Produce Inc. and Red Blossom
   2            Sales Inc.
   3         2. This judgment shall be deemed a final judgment pursuant to Federal Rule of Civil
   4            Procedure 58.
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             IT IS SO ORDERED.
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       Date: October 15, 2021
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                                                 ___________________________________
  11                                             HON. STEPHEN V. WILSON
                                                 UNITED STATES DISTRICT JUDGE
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